Case 1:14-ml-02570-RLY-TAB Document 19805 Filed 08/31/21 Page 1 of 5 PageID #:
                                 123156



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

IN RE: COOK MEDICAL, INC. IVC FILTERS
MARKETING, SALES PRACTICES AND            Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION             MDL No. 2570
_________________________________________

This Document Relates Only to the Following Cases:

Mattson, Jerome, 1:17-cv-00356
_________________________________________




       REPLY IN SUPPORT OF DEFENDANTS’ MOTION FOR JUDGMENT IN
         PLAINTIFF JEROME MATTSON’S CASE PURSUANT TO CMO-28
Case 1:14-ml-02570-RLY-TAB Document 19805 Filed 08/31/21 Page 2 of 5 PageID #:
                                 123157



        The Court should dismiss Plaintiff’s cause of action in its entirety. Plaintiff’s undisputed

knowledge in 2010 of the injury he now claims—a failed retrieval—negates his arguments in

support of his tort claims based on the discovery rule and fraudulent concealment.1

A.      Indiana’s Discovery Rule Does Not Save Plaintiff’s Case

        Although Plaintiff cites to Wisconsin’s discovery rule as saving his case, there is no dispute

that Indiana law applies to and bars Plaintiff’s claims.2 As this Court explained in Heintzman,

which was decided under Indiana and Ohio law, the plaintiff “had enough information based on

the failed retrieval procedure to put him on notice that there was a reasonable possibility that the

filter harmed him, and that he should inquire into his rights.” Dkt. 18391; see also Dkt. 19303;

Dkt. 18911. Here, as in Heintzman and the other orders decided on similar grounds, the failed

retrieval procedure provided sufficient information to start the limitations period as a matter of

law, and Plaintiff has failed to explain why the Court should deviate from its prior decisions.

        Plaintiff’s reliance on Nelson v. Sandoz Pharm. Corp., 288 F.3d 954 (7th Cir. 2002), is


1
  Plaintiff’s response does not deny that Cook is entitled to the dismissal of his non-tort-based claims.
2
  Plaintiff filed his case in the MDL outside of the Court’s equitable period, meaning Indiana’s choice-of-
law rules and, thus, Indiana’s statute of limitations apply. See Dkt. 13539. Even assuming Wisconsin law
applied, however, Plaintiff’s claims would still be time-barred. Under Wisconsin law, a cause of action
accrues when the plaintiff discovers—or with due diligence should have discovered—the fact of injury and
its probable connection to the defendant’s conduct or product. Borello v. U.S. Oil Co., 388 N.W.2d 140,
146 (Wis. 1986). Here, where the claimed injury is a failed filter retrieval, the retrieval procedure itself
necessarily provided Plaintiff with sufficient information to determine both the alleged injury and its
probable link to the filter. See Dkt. 18391.

Plaintiff’s reliance on Karnes v. C.R. Bard, Inc., 2019 WL 1639807 (W.D. Wis. April 16, 2019), and In re
Smith & Nephew Birmingham Hip Resurfacing (BHR) Hip Implant Products Liab. Litig., 1:17-MD-2775,
2018 WL 6067505 (D. Md. Nov. 19, 2018), is misplaced because the injuries claimed in those cases were
not the attempted removals of the devices at issue. Those cases focused on other medical complications.
See Karnes, 2019 WL 1639807 at *4 (“[T]here is no indication on this record that plaintiffs had any
objective reason to suspect defendant's [product] was a culprit for her post-implantation complications . . .
.”); In re Smith & Nephew, 2018 WL 6067505 at *3 (“A medical complication therefore does not rise to
‘knowledge of an injury’ for the purposes of the discovery rule, because it may not in fact be a legally
cognizable injury.”). As noted above and explained by this Court in Heintzman, the injury claimed here is
not a complication that might have a cause unrelated to the failed retrieval; the injury claimed is the failed
retrieval itself. See Dkt. 18391.


                                                    -1-
Case 1:14-ml-02570-RLY-TAB Document 19805 Filed 08/31/21 Page 3 of 5 PageID #:
                                 123158



misplaced. In Nelson, the plaintiff’s doctor told her the defendant’s drug did not cause her stroke,

and the court held the statute did not commence until a doctor told her of a “reasonable possibility,

if not a probability,” the drug had caused the stroke. Id. at 966. But here, Plaintiff undisputedly

knew as of the date of the failed retrieval attempt that the filter was a potential factor in that attempt.

        Plaintiff also contends that, although he knew in 2010 that he had a filter that could not be

retrieved, a fact question remains concerning when Plaintiff discovered his injury. See Dkt. 19679,

at 2. But this argument makes no sense. The failed retrieval is the exact injury Plaintiff claims

he suffered. See Dkt. 19499 (categorization medical records filed under seal). Plaintiff therefore

faces an insoluble dilemma: If Plaintiff’s 2010 failed retrieval was an injury, as his pleadings

assert, his claims based on that “injury” are barred by the statute of limitations. See Cooper Indus,

LLC v. City of S. Bend, 899 N.E.2d 1274, 1280 (Ind. 2009). But if his failed retrieval was not an

injury, as he arguably implies in his response, Plaintiff has no compensable injury and, thus, no

claim. See Atl. Coast Airlines v. Cook, 857 N.E.2d 989, 996 (Ind. 2006).

B.      Plaintiff’s Fraudulent Concealment Argument is Unavailing

        Given the undisputed facts set out above, the fraudulent concealment allegations in

Plaintiff’s amended complaint do not save his case, even assuming he properly pled them.3 See

Dkt. 17123. The failed retrieval attempt provided enough information to Plaintiff regarding the

potential existence of a cause of action independent of any alleged fraudulent concealment on

Cook’s part. See Dkt. 15907 (explaining that “fraudulent concealment requires an allegation that

the defendant fraudulently concealed information from the plaintiff about the existence of the


3
  Plaintiff’s new allegations of fraudulent concealment do not cure the pleading defects the Court identified
in its February 22, 2021 order. See Dkt. 15907. Plaintiff does not allege that Cook knew of and
affirmatively concealed Plaintiff’s cause of action, as the Court required, and Plaintiff does not state the
circumstances of the alleged fraud—that is, the who, what, when, where, and how—with the particularity
required by Rule 9(b). See id. at 6-9. Instead, Plaintiffs allege only the same sorts of pre-filter-placement
conduct set out in the Master Complaint.


                                                    -2-
Case 1:14-ml-02570-RLY-TAB Document 19805 Filed 08/31/21 Page 4 of 5 PageID #:
                                 123159



plaintiff’s cause of action”). Indeed, the Court reached this very conclusion in Heintzman when it

found that the plaintiff’s fraudulent concealment allegations did not save his claims under Indiana

and Ohio law.4 See Dkt. 18391. Fraudulent concealment cannot save Plaintiff’s action.

                                                  Respectfully submitted,


Dated: August 31, 2021                            /s/ Jessica Benson Cox
                                                  Jessica Benson Cox, Counsel
                                                  Andrea Roberts Pierson
                                                  FAEGRE DRINKER BIDDLE & REATH LLP
                                                  300 North Meridian Street, Suite 2500
                                                  Indianapolis, Indiana 46204
                                                  Telephone: (317) 237-0300
                                                  Andrea.Pierson@FaegreDrinker.com
                                                  Jessica.Cox@FaegreDrinker.com

                                                  James Stephen Bennett, Counsel
                                                  FAEGRE DRINKER BIDDLE & REATH LLP
                                                  110 West Berry Street, Suite 2400
                                                  Fort Wayne, Indiana 46802
                                                  Telephone: (260) 424-8000
                                                  Stephen.Bennett@FaegreDrinker.com

                                                  Attorneys for Defendants Cook Incorporated,
                                                  Cook Medical LLC, and William Cook Europe
                                                  ApS




4
 The result would not change if Wisconsin law applied. See Loertscher v. Uniroyal Goodrich Tire Co.,
570 N.W.2d 63, at *3 (Wis. Ct. App. 1997) (table).


                                               -3-
Case 1:14-ml-02570-RLY-TAB Document 19805 Filed 08/31/21 Page 5 of 5 PageID #:
                                 123160


                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 31, 2021, a copy of the foregoing COOK DEFENDANTS’

REPLY BRIEF IN SUPPORT OF ITS MOTION FOR JUDGMENT IN PLAINTIFF

JEROME MATTSON’S CASE PURSUANT TO CMO-28 was filed electronically, and notice

of the filing of this document will be sent to all parties by operation of the Court’s electronic filing

system to CM/ECF participants registered to receive service in this matter. Parties may access this

filing through the Court’s system.



                                                       /s/ Jessica Benson Cox




                                                 -4-
